Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.1 Page 1 of 12



 1   Peter Kristofer Strojnik, State Bar No. 242728
     pstrojnik@strojniklaw.com
 2   THE STROJNIK FIRM LLC
 3   A LIMITED LIABILITY COMPANY
     Esplanade Center III, Suite 700
 4   2415 East Camelback Road
 5   Phoenix, Arizona 85016
     Telephone: (602) 510-9409
 6   Facsimile: (602) 773-0370
 7   Attorneys for Plaintiff THERESA BROOKE
 8
                                 UNITED STATES DISTRICT COURT
 9
                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   THERESA BROOKE, a married woman
     dealing with her sole and separate claim,      Case No: '18CV2584 AJB NLS
12
13                         Plaintiff,               VERIFIED COMPLAINT

14
     vs.
15
16   WIN & LONG TIMES, LLC, a California            (JURY TRIAL DEMANDED)
     limited liability company dba Holiday Inn
17   Express Rancho Bernardo,
18
                           Defendant.
19
            Plaintiff alleges:
20
                                            PARTIES
21
            1.     Plaintiff Theresa Brooke is a married woman currently residing in Pinal
22
     County, Arizona. Plaintiff is and, at all times relevant hereto, has been legally disabled,
23
     confined to a wheel chair, and is therefore a member of a protected class under the
24
     ADA, 42 U.S.C. § 12102(2), the regulations implementing the ADA set forth at 28 CFR
25
     §§ 36.101 et seq., the California Unruh Civil Rights Act, California Civil Code § 51,
26
     52, and the California Disabled Persons Act. Plaintiff ambulates with the aid of a
27
     wheelchair due to the loss of a leg.
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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.2 Page 2 of 12



 1          2.     Defendant, Win & Long Times, LLC, owns and/or operates and does
 2   business as the hotel, Holiday Inn Express Rancho Bernardo located at 17065 West
 3   Bernardo Drive, San Diego, California 62127. Defendant’s hotel is a public
 4   accommodation pursuant to 42 U.S.C. § 12181(7)(A), which offers public lodging
 5   services.
 6                                      INTRODUCTION
 7          3.     Plaintiff Theresa Brooke brings this action against Defendant, alleging
 8   violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et
 9   seq., (the “ADA”) and its implementing regulations, the California Unruh Civil Rights
10   Act (“Unruh”), California Civil Code §§51, 52, and the California Disabled Persons Act
11   (“DPA”), California Civil Code §§54-54.3.
12          4.     Plaintiff is a disabled woman confined to a wheelchair. She brings this
13   civil rights action against Defendant for failing to design, construct, and/or own or
14   operate hotel facilities that are fully accessible to, and independently usable by, disabled
15   people. Specifically, Defendant’s hotel, which is a place of public accommodation, does
16   not have a Passenger Loading Zone that complies with Section 503 of the 2010
17   Standards of Accessible Design; along the passenger loading zone, there is no disabled
18   access aisle that complies with Section 503.3 of the Standards; the lack of an access
19   aisle precludes a disabled person’s entry to the lobby area directly from the passenger
20   loading zone. Therefore, Plaintiff seeks a declaration that Defendant’s hotel violates
21   federal law and an injunction requiring Defendant to bring its passenger loading zone
22   into compliance with ADA requirements and the 2010 Standards of Accessible Design.
23   Plaintiff further requests that, given Defendant’s historical failure to comply with the
24   ADA’s mandate, the Court retain jurisdiction of this matter for a period to be
25   determined to ensure that Defendant comes into compliance with the relevant
26   requirements of the ADA, and to ensure that Defendant has adopted and is following an
27   institutional policy that will, in fact, cause Defendant to remain in compliance with the
28   law.


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.3 Page 3 of 12



 1            5.    In compliance with R10-3-405(H)(1), Plaintiff’s address is c/o Peter
 2   Kristofer Strojnik, her attorney, 2415 East Camelback, Suite 700, Phoenix, Arizona
 3   85016.
 4                               JURISDICTION AND VENUE
 5            6.    Jurisdiction in this Court is proper pursuant to 28 U.S.C. §§ 1331 and 42
 6   U.S.C. § 12188. The Court has supplemental jurisdiction over the state law claims. 28
 7   U.S.C. § 1367.
 8            7.    Plaintiff’s claims asserted herein arose in this judicial district and
 9   Defendant does substantial business in this judicial district.
10            8.    Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c)
11   in that this is the judicial district in which a substantial part of the acts and omissions
12   giving rise to the claims occurred.
13                      ALLEGATIONS COMMON TO ALL COUNTS
14            9.    Plaintiff is a disabled woman that relies on a wheelchair for locomotion.
15   Her disability is that she only has one leg. She cannot walk.
16            10.   Plaintiff has significant experience and has worked in the hotel industry
17   and through her experience has learned of the generalized lack of total and unfettered
18   access for disabled persons such as herself.
19            11.   Plaintiff and her husband are avid travelers to California. Due to
20   Plaintiff’s many special needs, she requires the privileges of disability access such as
21   access aisles at hotel lobby passenger zones. She cannot navigate a passenger loading
22   zone at a lobby if it has a curb and there is no compliant access aisle, especially if there
23   are additional variants such as a vehicle blocking an existing non-compliant access aisle
24   or cut-out.
25            12.   The purpose of an access aisle at the passenger loading zone is to mark
26   the area where other cars should not park, thereby creating a clear path to the lobby for
27   a person in a wheelchair.
28


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.4 Page 4 of 12



 1          13.    On or about October 30, 2018, Plaintiff was in San Diego and went to
 2   Defendant’s hotel to book a room. However, when she pulled up to the passenger
 3   loading zone, there was no marked access aisle giving her clear access to the lobby,
 4   which precluded Plaintiff’s access. A marked access aisle and compliant cut-out are
 5   required by Section 503 of the 2010 Standards of Accessible Design. An illustration of
 6   a correct access aisle and compliant cut-out are provided below, which was not
 7   provided by Defendant:
 8
 9
10
11
12
13
14
15
16
17
                           (Source: U.S. Access Board Technical Guide)
18
19          14.    Had Defendant provided equality and allowed her to access to the lobby

20   from the passenger loading zone in the same manner as able-bodied persons can access,

21   which is required by Section 503 of the Standards, Plaintiff would have booked a room.

22          15.    It is a violation of Section 503.3 of the Standards, and hence the ADA, for

23   a passenger loading zone to not have an access aisle that is at least 60 inches wide and a

24   full car-length long in the center of the loading zone closest to the lobby entrance.

25   Defendant violated this Section.

26          16.    Plaintiff has personal knowledge of a barrier related to her disability, as

27   noted above, and is currently deterred from returning to Defendant’s accommodation by

28   this accessibility barrier. Therefore, she has suffered an injury-in-fact for the purpose of


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.5 Page 5 of 12



 1   her standing to bring this action. Plaintiff’s injury is ongoing due to the existence of the
 2   barrier and her continued deterrence until the barrier is removed.
 3          17.    As a result of Defendant’s non-compliance with the ADA, Plaintiff did
 4   not lodge at the hotel. However, notwithstanding the barriers at issue, Plaintiff will
 5   lodge at Defendant’s hotel if Defendant removes the barriers at issue. Plaintiff makes
 6   frequent trips to San Diego, and if the barriers are removed, she will lodge at
 7   Defendant’s hotel and/or revisit the hotel to obtain access to the Defendant’s property.
 8   Plaintiff especially hopes Defendant does in fact remediate, as she wishes to diversify
 9   her lodging during her visits. It is also rare for a hotel to be fully compliant with the
10   ADA, which limits Plaintiff’s choice of lodging.
11          18.    Plaintiff and other disabled persons have been injured by Defendant’s
12   discriminatory practices and failure to remove architectural barriers. These injuries
13   include being deterred from using Defendant’s hotel due to the lack of ADA-compliant
14   passenger loading zone.
15          19.    Without injunctive relief, Plaintiff and others will continue to be unable to
16   independently use Defendant’s hotel in violation of her rights under the ADA.
17          20.    Other potential violations and barriers to entry at Defendant’s hotel may
18   be discovered through an expert inspection of the hotel property pursuant to Rule 34. So
19   as to avoid piecemeal litigation to ensure full access to the entirety of the property at
20   issue, Plaintiff will amend her complaint to allege and all additional barriers discovered
21   during the Rule 34 inspection. Doran v. 7-Eleven, 524 F.3d 1034 (9th Cir. 2008).
22                               FIRST CAUSE OF ACTION
                  (Violation of Title III the Americans with Disabilities Act)
23
24          21.    Plaintiff incorporates all allegations heretofore set forth.

25          22.    Defendant has discriminated against Plaintiff and others in that it has

26   failed to make its public lodging services fully accessible to, and independently usable

27   by, individuals who are disabled in violation of 42 U.S.C. § 12182(a) and §

28   121282(b)(2)(iv) and the 2010 Standards, as described above.


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.6 Page 6 of 12



 1          23.    Defendant has discriminated against Plaintiff in that it has failed to
 2   remove architectural barriers to make its lodging services fully accessible to, and
 3   independently usable by individuals who are disabled in violation of 42 U.S.C.
 4   §12182(b)(A)(iv) and the 2010 Standards, as described above. Compliance with the
 5   2010 Standards would neither fundamentally alter the nature of Defendant’s lodging
 6   services nor result in an undue burden to Defendant.
 7          24.    In violation of the 2010 Standards, Defendant’s hotel passenger loading
 8   zone does not have a disability access aisle as required by Section 503 of the Standards.
 9          25.    Compliance with 42 U.S.C. § 12182(b)(2)(A)(iv) and the 2010 Standards,
10   as described above, is readily achievable by the Defendant. Id. Readily achievable
11   means that providing access is easily accomplishable without significant difficulty or
12   expense.
13          26.    Conversely, the cessation of compliance with the ADA law is also readily
14   achievable. Therefore, injunctive relief should issue irrespective of Defendant’s
15   potential voluntary cessation pursuant to the Supreme Court’s announcement in Friends
16   of the Earth case1.
17          27.    Defendant’s conduct is ongoing, and, given that Defendant has never fully
18   complied with the ADA’s requirements that public accommodations make lodging
19
20
     1
       Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct.
21   693, 145 L.Ed.2d 610 (2000):
22
            It is well settled that a defendant's voluntary cessation of a challenged
23          practice does not deprive a federal court of its power to determine the
            legality of the practice. If it did, the courts would be compelled to leave the
24          defendant free to return to his old ways. In accordance with this principle,
25          the standard we have announced for determining whether a case has been
            mooted by the defendant's voluntary conduct is stringent: A case might
26          become moot if subsequent events made it absolutely clear that the
            allegedly wrongful behavior could not reasonably be expected to recur. The
27
            heavy burden of persuading the court that the challenged conduct cannot
28          reasonably be expected to start up again lies with the party asserting
            mootness.

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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.7 Page 7 of 12



 1   services fully accessible to, and independently usable by, disabled individuals, Plaintiff
 2   invokes her statutory right to declaratory and injunctive relief, as well as costs and
 3   attorneys’ fees.
 4          28.      Without the requested injunctive relief, specifically including the request
 5   that the Court retain jurisdiction of this matter for a period to be determined after the
 6   Defendant certifies that it is fully in compliance with the mandatory requirements of the
 7   ADA that are discussed above, Defendant’s non-compliance with the ADA’s
 8   requirements that its passenger loading zone be fully accessible to, and independently
 9   useable by, disabled people is likely to recur.
10          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
11                a. A Declaratory Judgment that at the commencement of this action
12                   Defendant was in violation of the specific requirements of Title III of the
13                   ADA described above, and the relevant implementing regulations of the
14                   ADA, in that Defendant took no action that was reasonably calculated to
15                   ensure that all of its passenger loading zone is fully accessible to, and
16                   independently usable by, disabled individuals;
17                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
18                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
19                   and 28 CFR § 36.504(a) which directs Defendant to take all steps
20                   necessary to bring its passenger loading zone into full compliance with
21                   the requirements set forth in the ADA, and its implementing regulations,
22                   so that the passenger loading zone is fully accessible to, and
23                   independently usable by, disabled individuals, and which further directs
24                   that the Court shall retain jurisdiction for a period to be determined after
25                   Defendant certifies that its passenger loading zone is fully in compliance
26                   with the relevant requirements of the ADA to ensure that Defendant has
27                   adopted and is following an institutional policy that will in fact cause
28                   Defendant to remain fully in compliance with the law;


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.8 Page 8 of 12



 1                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 2                   applicable, payment of costs of suit;
 3                d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 4                   applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
 5                   CFR § 36.505 and other principles of law and equity and in compliance
 6                   with the “prevailing party” and “material alteration” of the parties’
 7                   relationship doctrines2 in an amount no less than $3,500.00; and,
 8                e. Nominal damages pursuant to the Ninth Circuit Court of Appeal’s
 9                   recently decision in Bayer v. Neiman Marcus Group, Inc., Ninth Circuit
10                   case no. 15-15287 (June 26, 2017) (for publication); and,
11                f. Order closure of the Defendant’s place of public accommodation until
12                   Defendant has fully complied with the ADA; and
13                g. The provision of whatever other relief the Court deems just, equitable and
14                   appropriate.
15                              SECOND CAUSE OF ACTION
         (Violation of the California Unruh Civil Rights Act, Cal. Civ. Code §§51, 52)
16
17          29.      Plaintiff realleges all allegations heretofore set forth.
18          30.      Defendant has violated the Unruh by denying Plaintiff equal access to its
19   public accommodation on the basis of her disability as outlined above.
20          31.      Unruh provides for declaratory and monetary relief to “aggrieved
21   persons” who suffer from discrimination on the basis of their disability.
22          32.      Plaintiff has been damaged by the Defendant’s non-compliance with
23   Unruh.
24
25
26
27   2
      As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
28   1813 JGB (RNBx) (February, 2015)


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.9 Page 9 of 12



 1          33.      Pursuant to Cal Civ. Code §52, Plaintiff is further entitled to such other
 2   relief as the Court considers appropriate, including monetary damages in an amount to
 3   be proven at trial, but in no event less than $4,000.00.
 4          34.      Pursuant to Unruh, Plaintiff is entitled to attorney’s fees and costs in an
 5   amount to be proven at trial.
 6          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 7                a. A Declaratory Judgment that at the commencement of this action
 8                   Defendant was in violation of the specific requirements of Unruh; and
 9                b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
10                   applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
11                   and 28 CFR § 36.504(a) which directs Defendant to take all steps
12                   necessary to bring its passenger loading zone into full compliance with
13                   the requirements set forth in the ADA, and its implementing regulations,
14                   so that the passenger loading zone is fully accessible to, and
15                   independently usable by, disabled individuals, and which further directs
16                   that the Court shall retain jurisdiction for a period to be determined after
17                   Defendant certifies that its passenger loading zone is fully in compliance
18                   with the relevant requirements of the ADA to ensure that Defendant has
19                   adopted and is following an institutional policy that will in fact cause
20                   Defendant to remain fully in compliance with the law;
21                c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
22                   applicable, payment of costs of suit;
23                d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
24                   applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
25                   CFR § 36.505 and other principles of law and equity and in compliance
26
27
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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.10 Page 10 of 12



  1                   with the “prevailing party” and “material alteration” of the parties’
  2                   relationship doctrines3 in an amount no less than $3,500.00; and,
  3                e. Nominal damages pursuant to the Ninth Circuit Court of Appeal’s
  4                   recently decision in Bayer v. Neiman Marcus Group, Inc., Ninth Circuit
  5                   case no. 15-15287 (June 26, 2017) (for publication); and,
  6                f. Order closure of the Defendant’s place of public accommodation until
  7                   Defendant has fully complied with the ADA; and
  8                g. For damages in an amount no less than $4,000.00; and
  9                h. The provision of whatever other relief the Court deems just, equitable and
 10                   appropriate.
 11                               THIRD CAUSE OF ACTION
          (Violation of the California Disabled Persons Act, Cal. Civ. Code §§54-54.3)
 12
 13          35.      Plaintiff realleges all allegations heretofore set forth.
 14          36.      Defendant has violated the DPA by denying Plaintiff equal access to its
 15   public accommodation on the basis of her disability as outlined above.
 16          37.      The DPA provides for monetary relief to “aggrieved persons” who suffer
 17   from discrimination on the basis of their disability.
 18          38.      Plaintiff has been damaged by the Defendant’s non-compliance with the
 19   DPA.
 20          39.      Pursuant to the DPA, Plaintiff is further entitled to such other relief as the
 21   Court considers appropriate, including monetary damages in an amount to be proven at
 22   trial, but in no event less than $1,000.00. Cal. Civ. Code § 54.3.
 23          40.      Pursuant to the DPA, Plaintiff is entitled to attorney’s fees and costs in an
 24   amount to be proven at trial. Cal. Civ. Code § 54.3.
 25          WHEREFORE, Plaintiff demands judgment against Defendant as follows:
 26
 27   3
       As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
 28   1813 JGB (RNBx) (February, 2015)


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.11 Page 11 of 12



  1            a. A Declaratory Judgment that at the commencement of this action
  2               Defendant was in violation of the specific requirements of Unruh; and
  3            b. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
  4               applicable, a permanent injunction pursuant to 42 U.S.C. § 12188(a)(2)
  5               and 28 CFR § 36.504(a) which directs Defendant to take all steps
  6               necessary to bring its passenger loading zone into full compliance with
  7               the requirements set forth in the ADA, and its implementing regulations,
  8               so that the passenger loading zone is fully accessible to, and
  9               independently usable by, disabled individuals, and which further directs
 10               that the Court shall retain jurisdiction for a period to be determined after
 11               Defendant certifies that its passenger loading zone is fully in compliance
 12               with the relevant requirements of the ADA to ensure that Defendant has
 13               adopted and is following an institutional policy that will in fact cause
 14               Defendant to remain fully in compliance with the law;
 15            c. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 16               applicable, payment of costs of suit;
 17            d. Irrespective of Defendants “voluntary cessation” of the ADA violation, if
 18               applicable, payment of attorneys’ fees pursuant to 42 U.S.C. § 12205, 28
 19               CFR § 36.505 and other principles of law and equity and in compliance
 20               with the “prevailing party” and “material alteration” of the parties’
 21               relationship doctrines4 in an amount no less than $3,500.00; and,
 22            e. Nominal damages pursuant to the Ninth Circuit Court of Appeal’s
 23               recently decision in Bayer v. Neiman Marcus Group, Inc., Ninth Circuit
 24               case no. 15-15287 (June 26, 2017) (for publication); and,
 25
 26
 27   4
       As applicable to ADA cases, see Coppi v. City of Dana Point, Case No. SACV 11-
 28   1813 JGB (RNBx) (February, 2015)


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Case 3:18-cv-02584-AJB-NLS Document 1 Filed 11/10/18 PageID.12 Page 12 of 12



  1             f. Order closure of the Defendant’s place of public accommodation until
  2                 Defendant has fully complied with the ADA; and
  3             g. For damages in an amount no less than $1,000.00; and
  4             h. The provision of whatever other relief the Court deems just, equitable and
  5                 appropriate.
  6                                DEMAND FOR JURY TRIAL
  7          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
  8   demands a jury trial on issues triable by a jury.
  9
 10          RESPECTFULLY SUBMITTED this 10th day of November, 2018.
 11
 12                                              THE STROJNIK FIRM L.L.C.

 13
 14
 15                                              Peter Kristofer Strojnik (242728)
                                                 2415 East Camelback Road, Suite 700
 16                                              Phoenix, Arizona 85016
 17                                              Attorneys for Plaintiff

 18                     VERIFICATION COMPLIANT WITH R10-3-405
 19
             I declare under penalty of perjury that the foregoing is true and correct.
 20
             DATED this 10th day of November, 2018.
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